                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                               ASSET CASES
Case No:             18-41626        DLS Judge: DALE L. SOMERS                                                                                  Trustee Name:                     Robert L. Baer, Trustee
Case Name:           WEBER, ROBERT MARION                                                                                                      Date Filed (f) or Converted (c):   12/28/18 (f)
                     WEBER, CAROL JEAN                                                                                                         341(a) Meeting Date:               01/28/19
For Period Ending: 04/23/19                                                                                                                    Claims Bar Date:                   05/28/19



                                        1                                                   2                             3                         4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. Single-family home,                                                                   185,000.00                                0.00                                               0.00                     FA
 N61W23804 Sumac LaneSussex WI
 2. 2017 Buick Encore                                                                      15,880.00                                0.00                                               0.00                     FA
     Debtor Claimed Exemption
 3. Furniture                                                                                2,000.00                               0.00                                               0.00                     FA
     Debtor Claimed Exemption
 4. Wedding Bands                                                                            1,000.00                               0.00                                               0.00                     FA
     Debtor Claimed Exemption
 5. Central National Bank                                                                       50.00                               0.00                                               0.00                     FA
 6. Central National Bank                                                                       50.00                               0.00                                               0.00                     FA
 7. Briggs & Stratton Retirement                                                             1,527.50                               0.00                                               0.00                     FA
     Debtor Claimed Exemption
 8. Briggs and Stratton                                                                      1,192.34                               0.00                                               0.00                     FA
     Debtor Claimed Exemption
 9. RENT                                                                                         0.00                               0.00                                           1,350.00                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $206,699.84                              $0.00                                           $1,350.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Trustee received pre-petition rent from Debtors and determined there are no assets of consequential value. Estate is
   fully collected and the Trustee awaits the bar date.




LFORM1                                                                                                                                                                                                                         Ver: 22.01a
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                                                                                         FORM 1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                       Page:       2
                                                                                      ASSET CASES
Case No:            18-41626       DLS Judge: DALE L. SOMERS                                                               Trustee Name:                      Robert L. Baer, Trustee
Case Name:          WEBER, ROBERT MARION                                                                                   Date Filed (f) or Converted (c):   12/28/18 (f)
                    WEBER, CAROL JEAN                                                                                      341(a) Meeting Date:               01/28/19
                                                                                                                           Claims Bar Date:                   05/28/19
   Initial Projected Date of Final Report (TFR): 01/28/20   Current Projected Date of Final Report (TFR): 06/30/19


           /s/     Robert L. Baer, Trustee
   __________________________________________ Date: 04/23/19
           ROBERT L. BAER, TRUSTEE
           112 SW 6TH AVE SUITE 408
           TOPEKA, KS 66603
           Phone: (785) 730-8542
           Email: rbaertrustee@outlook.com
           Bar Number: 9387




LFORM1                                                                                                                                                                                          Ver: 22.01a
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                                                                                        FORM 2                                                                                                    Page:      1
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           18-41626 -DLS                                                                                   Trustee Name:                       Robert L. Baer, Trustee
  Case Name:         WEBER, ROBERT MARION                                                                            Bank Name:                          Axos Bank
                     WEBER, CAROL JEAN                                                                               Account Number / CD #:              *******1233 Checking Account
  Taxpayer ID No:    *******8992
  For Period Ending: 04/23/19                                                                                        Blanket Bond (per case limit):      $ 24,700,000.00
                                                                                                                     Separate Bond (if applicable):


           1             2                         3                                             4                                                 5                          6                         7
    Transaction      Check or                                                                                               Uniform                                                               Account / CD
       Date          Reference           Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                            BALANCE FORWARD                                                                                                                      0.00
          02/13/19      9        ROBERT MARION WEBER                        PYMT OF RENT                                   1122-000                    1,350.00                                             1,350.00
                                 8781 NELLIE DR.
                                 MANHATTAN, KS 66502

                                                                                                 COLUMN TOTALS                                         1,350.00                       0.00                   1,350.00
                                                                                                     Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                 Subtotal                                              1,350.00                       0.00
                                                                                                     Less: Payments to Debtors                                                        0.00
                                                                                                 Net
                                                                                                                                                       1,350.00                       0.00
                                                                                                                                                                         NET                             ACCOUNT
                                                                                                 TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                 Checking Account - ********1233                      1,350.00                          0.00                 1,350.00
                                                                                                                                         ------------------------    ------------------------   ------------------------
                                                                                                                                                      1,350.00                          0.00                 1,350.00
                                                                                                                                         ==============             ==============              ==============
                                                                                                                                          (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                     Transfers)               To Debtors)                    On Hand




                                                                                                                     Page Subtotals                    1,350.00                        0.00
                                                                                                                                                                                                            Ver: 22.01a
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